Case 2:21-cv-00051-AWA-DEM Document 3 Filed 01/25/21 Page 1 of 2 PageID# 12




                          UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

TRACY MCNAIR
         Plaintiff,

       v.

UNITED STATES OF AMERICA,                           Civil Action No. 2:21cv51
          Defendant.

In re: Tracy McNair v. Hampton Roads
Community Health Center and Dr. Markovic
Vladimir Case No. GV20014031-00, Norfolk
General District Court


                                     MOTION TO DISMISS

       Defendant, United States of America, by and through the United States Attorney for the

Eastern District of Virginia, hereby moves to dismiss the Plaintiff’s claims against the United

States (substituted for Hampton Roads Community Health Center and “Dr. Vladimir Markovic”

(correctly identified as Dr. Vladimir Markovic)) pursuant to Federal Rule of Civil Procedure

12(b)(1) for lack of subject matter jurisdiction.

       A memorandum in support of this motion and a Roseboro notice are being submitted

simultaneously herewith.



                                      Local Rule 7(E) Notice

       PLAINTIFF IS REQUESTED TO ADVISE THE COURT AS PART OF ANY

RESPONSE SHE MAY FILE WHETHER SHE DESIRES ORAL ARGUMENT ON THE

DEFENDANT’S MOTION.
Case 2:21-cv-00051-AWA-DEM Document 3 Filed 01/25/21 Page 2 of 2 PageID# 13




                                              Respectfully submitted,

                                              UNITED STATES OF AMERICA,
                                              Defendant

                                              RAJ PAREKH
                                              Acting United States Attorney

                                      By:     /s/ Kent P. Porter
                                              Kent P. Porter, VSB No. 22853
                                              Supervisory Assistant United States Attorney
                                              Office of the United States Attorney
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                                              Norfolk, Virginia 23510-1671
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                                              Email: kent.porter@usdoj.gov
                                              Counsel for United States of America

                                    CERTIFICATE OF SERVICE

       I hereby certify that, on the 25th day of January, 2021, I will electronically file the

foregoing with the Clerk of Court using the CM/ECF system, and further certify that I will mail

copies of the foregoing and the Notification of Electronic Filing by U.S. mail, postage paid, to

the following non-filing user(s):

       TRACY MCNAIR
       3801 Chatham Circle, Unit 2
       Norfolk, Virginia 23513
       Pro se Plaintiff



                                      By:     /s/ Kent P. Porter
                                              Kent P. Porter, VSB No. 22853
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